Case 3:17-cv-00655-B.]D-|\/|CR Document 1 Filed 06/08/17 Page 1 of 9 Page|D 1

§ ; ..~*'E,.`.~ ~i..!

rN THE UNITED sTArEs DrsrRICr CoURT §T?‘, Jii?»l‘ ~3 t 31 §§
rN AND FoR rHE MIDDLE Drsrchr oF FLoanA
JAcKsoNvILLE DrvrsioN

\..#1

AUGUsrUs MCCRAY,
Piaintirf, CASE No,: 3'.\'7-(,\/»(0'5 931 33 /Y\OQ
V.

DIVERSIFIED CONSULTANTS, INC.,

Defendant.
/

 

COMPLAINT
COMES NOW, Plaintiff, AUGUSTUS l\/ICCRAY, by and through the
undersigned counsel, and sues Defendant, DIVERSIFIED CONSULTANTS, INC.
(hereinafter referred to as “DIVERSIFIED”), and in support thereof respectfully alleges
violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 el' seq. (“TCPA”).
INTRODUCTION

l. The TCPA Was enacted to prevent companies like DIVERSIFIED from
invading American citizen’s privacy and to prevent abusive “robo-calls.”

2. “The TCPA is designed to protect individual consumers from receiving
intrusive and unwanted telephone calls.” illith v. Arrow Fin. Servs., LLC, 132 S. Ct. 740
(2012).

3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the
*1256 scourge of modern civilization, they Wake us up in the morning; they interrupt our
dinner at night; they force the Sick and elderly out of bed; they hound us until We Want to

rip the telephone out of the Wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings

Case 3:17-cv-00655-B.]D-I\/|CR Document 1 Filed 06/08/17 Page 2 of 9 Page|D 2

presumably intended to give telephone subscribers another option: telling the autodialers
to simply stop calling.” Osorio v. Slale Fa/"m chk, F.S.B., 746 F. 3d 1242 (llth Cir.
2014).

4. According to the Federal Communications Commission (FCC),
“Unwanted calls and texts are the number one complaint to the FCC. There are
thousands of complaints to the FCC every month on both telemarketing and robocalls.
The FCC received more than 2l5,000 TCPA complaints in 2014." Fact Sheet.' Wheele)'
Proposal to Protect and Empower Consz/me/'S Againsl Unwamed Robocal/S, Tex)‘s to
Wireless Phones, Federal Communications Commission, (May 27, 2015),
https://apps.fcc.gov/edocs public/attachmatch/DOC-333676Al .pdf.

JURISDICTION AND VENUE

5. Jurisdiction and venue for purposes of this action are appropriate and
conferred by 28 U.S.C. § l33l, Federal Question Jurisdiction, as this action involves
violations of the TCPA.

6. Subject matter jurisdiction, federal question jurisdiction, for purposes of
this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the
district courts shall have original jurisdiction of all civil actions arising under the
Constitution, laws, or treaties of the United States; and this action involves violations of
47 U.S.C. § 227(b)(l)(A)(iii). See Mz`ms v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)
and Osorio v. Stczte Farm chk, F.S.B., 746 F.3d 1242, 1249 (l llh Cir. 2014).

7. The alleged violations described herein occurred in Duval County,

Florida. Accordingly, venue is appropriate With this Court under 28 U.S.C. §1391(b)(2),

Case 3:17-cv-00655-B.]D-I\/|CR Document 1 Filed 06/08/17 Page 3 of 9 Page|D 3

as it is the judicial district in which a substantial part of the events or omissions giving
rise to this action occurred
FACTUAL ALLEGATIONS

8. Plaintiff is a natural person, and citizen of the State of l\/lississippi,
residing in Washington County, Mississippi.

9. Plaintiff is the “called party.” See B)~eslow v. Wells Fargo chk, N.A., 755
F. 3d 1265 (11th Cir. 2014) and 050/rio v. State Farm chk, F.S.B., 746 F.3d 1242 (11th
Cir. 2014).

lO. Defendant, DIVERSIFIED, is a corporation which was formed in the State
of Florida with its principal place of business located at 1055() Deerwood Park
Boulevard, Suite 309, Jacksonville, Florida 32256 and which conducts business in the
State of Florida through its registered agent, John Crawford, Resq, located at 1200
Riverplace Boulevard, Suite 800, Jacksonville, Florida 32207.

11. DIVERSIFIED called Plaintiff approximately seventy (70) times in an
attempt to collect a debt.

12. Upon information and belief, some or all of the calls DIVERSIFIED made
to Plaintiff’s cellular telephone number were made using an “automatic telephone dialing
system” which has the capacity to store or produce telephone numbers to be called, using
a random or sequential number generator (including but not limited to a predictive dialer)
or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §
227(a)(1) (hereinafter “autodialer calls”). Plaintiff will testify that he knew it was an

autodialer because of the vast number of calls he received from DIVERSIFIED.

L)J

Case 3:17-cv-00655-B.]D-I\/|CR Document 1 Filed 06/08/17 Page 4 of 9 Page|D 4

13. Plaintiff is the subscriber, regular user and carrier of the cellular telephone
number (662) ***-9507, and was the called party and recipient of DIVERSIFIED’s calls.

14. DIVERSIFIED placed an exorbitant number of automated calls to
Plaintiff’s cellular telephone (662) **’*‘-9507, in an attempt to collect on a cable television
debt.

15. On several occasions over the last four (4) years, Plaintiff instructed
DIVERSIFIED’s agent(s) to stop calling his cellular telephone

16. On one such occasion, Plaintiff revoked his consent to be called by
DIVERSIFIED by telling the agent “1 have a financial hardship right now. 1 want to keep
my cable. I’ll contact you when l can. lf y’all don’t mind, don’t call my cell phone
because l am going through enough.” Each call DIVERSIFIED made to Plaintiff` s cell
phone after revocation was done so without the “expressed permission” of the Plaintiff
and in violation of the TCPA.

17. Despite Plaintiff informing DIVERSIFIED to stop calling
DIVERSIFIED’$ autodialer calls to Plaintiff`s cellular phone continued. Between l\/larch
13, 2017 and April 18, 2017, Plaintiff made a non-exclusive log of twenty one (21) calls
he received from DIVERSIFIED. Due to the volume and time period over which he
received automated calls, Plaintiff was not able to properly catalogue each and every call
from DlVERSlFIED; however, attached hereto as Exhibit A is a small sampling

18. Plaintiff estimates approximately seventy (70) calls to his cell phone post-

revocation.

Case 3:17-cv-00655-B.]D-I\/|CR Document 1 Filed 06/08/17 Page 5 of 9 Page|D 5

19. The autodialer calls from DIVERSIFIED came from telephone numbers
including but not limited to (901) 453~3386, (901) 453-3410, (901) 453-3376; and (901)
453-3413, and when those numbers are called a pre-recorded voice or agent answers and
identifies the number as belonging to DIVERSIFIED.

20. DlVERSIFIED knowingly and/or willfully harassed and abused Plaintiff
on numerous occasions by calling Plaintiff cellular telephone number up to two (2) times
a day, with such frequency as can reasonably be expected to harass, all in an effort related
to collection of the subject account.

21. DIVERSIFIED has a corporate policy to use an automatic telephone
dialing system or a pre-recorded or artificial voice to individuals just as they did to
Plaintiff’s cellular telephone in this case.

22. DlVERSlFIED has a corporate policy to use an automatic telephone
dialing system or a pre-recorded or artificial voice, just as they did to the Plaintiff`s
cellular telephone in this case, with no way for the consumer, or DIVERSIFlED, to
remove the number.

23. DlVERSIFIED’s corporate policy is structured so as to continue to call
individuals like Plaintiff, despite these individuals explaining to DIVERSIFIED they do
not wish to be called.

24. DIVERSIFIED has numerous other federal lawsuits pending against them

alleging similar violations as stated in this Complaint.

Case 3:17-cv-00655-B.]D-|\/|CR Document 1 Filed 06/08/17 Page 6 of 9 Page|D 6

25. DIVERSIFIED has numerous complaints against it across the country
asserting that its automatic telephone dialing system continues to call despite being
requested to stop.

26. DIVERSIFIED has had numerous complaints against it from consumers
across the country asking to not be called; however, DIVERSIFIED continues to call
these individuals

27. DIVERSIFIED’s corporate policy provided no means for Plaintiff to have
Plaintiff’s number removed from DIVERSIFIED’s call list.

28. DIVERSIFIED has a corporate policy to harass and abuse individuals
despite actual knowledge the called parties do not wish to be called.

29. Not one of DIVERSIFIED’$ telephone calls placed to Plaintiff were for
“emergency pur'poses” as specified in 47 U.S.C. § 227(b)(1)(A).

30. DIVERSIFIED willfully and/or knowingly violated the TCPA with
respect to Plaintiff

31. From each and every call placed without express consent by
DIVERSIFIED to Plaintist cell phone, Plaintiff suffered the injury of invasion of
privacy and the intrusion upon his right of seclusion.

32. From each and every call without express consent placed by
DIVERSIFIED to Plaintiff` s cell phone, Plaintiff suffered the injury of the occupation of
her cellular telephone line and cellular phone by unwelcome calls, making the phone
unavailable for legitimate callers or outgoing calls while the phone was ringing from

DlVERSlFIED’s call.

Case 3:17-cv-00655-B.]D-|\/|CR Document 1 Filed 06/08/17 Page 7 of 9 Page|D 7

q

33. From each and every call placed without express consent by
DIVERSIFIED to Plaintist cell phone, Plaintiff suffered the injury of unnecessary
expenditure of his time. For calls he answered, the time he spent on the call was
unnecessary as he repeatedly asked for the calls to stop. Even for unanswered calls,
Plaintiff had to waste time to unlock the phone and deal with missed call notifications
and call logs that reflect the unwanted calls. This also impaired the usefulness of these
features of Plaintiff s cellular phone, which are designed to inform the riser of important
missed communications

34. Each and every call placed without express consent by DIVERSIFIED to
Plaintiff`s cell phone was an injury in the form of a nuisance and annoyance to the
Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of
answering them. Even for unanswered calls, Plaintiff had to waste time to unlock the
phone and deal with missed ca11 notifications and ca11 logs that reflected the unwanted
calls, This also impaired the usefulness of these features of Plaintist cellular phone,
which are designed to inform the user of important missed communications

35. Each and every call placed without express consent by DIVERSIFIED to
Plaintiff’s cell phone resulted in the injury of unnecessary expenditure of Plaintiff` s cell
phone’s battery power.

36. Each and every call placed without express consent by DIVERSIFIED to
Plaintist cell phone where a voice message was left which occupied Space in Plaintiff’ s

phone or network.

Case 3:17-cv-00655-B.]D-|\/|CR Document 1 Filed 06/08/17 Page 8 of 9 Page|D 8

37. Each and every call placed without express consent by DIVERSIFIED to
Plaintist cell phone resulted in the injury of a trespass to Plaintist chattel, namely his
cellular phone and his cellular phone services

38. As a result of the answered and unanswered calls described above,
Plaintiff suffered an invasion of privacy; Plaintiff was also affected in a personal and
individualized way by stress, embarrassment, distress and aggravation Further, Plaintiff
suffers from high blood pressure and is at a high risk for strokes having suffered a stroke
in the past, which conditions were worsened due to the phone calls, Due to both answered
and unanswered calls, Plaintiff suffered the expenditure of Plaintiff` s time, exhaustion of
Plaintiff` s cellular telephone battery, unavailability of Plaintiff`s cellular telephone while
ringing, waste of Plaintiff’s time, causing risk of personal injury due to distraction and
trespass upon Plaintiffs chattels. All of the aboverrrentioned were caused by, and/or
directly related to, Defendant’s attempts to collect a debt from the Plaintiff through the
use of automated/predictive dialing technology

QQ_UM
(Violation of the TCPA)

39. Plaintiff fully incorporates and realleges paragraphs one (1) through thirty
eight (38) as if fully set forth herein.

40. DIVERSIFIED willfully violated the TCPA with respect to Plaintiff,
specifically for each of the auto-dialer calls made to Plaintiff s cellular telephone after

Plaintiff notified DIVERSIFIED that Plaintiff wished for the calls to stop

Case 3:17-cv-00655-B.]D-|\/|CR Document 1 Filed 06/08/17 Page 9 of 9 Page|D 9

41. DIVERSIFlED repeatedly placed non-emergency telephone calls to
Plaintiff`s cellular telephone using an automatic telephone dialing system or prerecorded
or artificial voice without Plaintist prior express consent in violation of federal law,
including 47 U.S.C § 227(b)(1)(A)(iii).

WHEREFORE, Plaintiff, Augustus l\/IcCray, respectfully demands a trial by jury
on all issues so triable and judgment against Defendant, DIVERSIFIED
CONSULTANTS, INC., for statutory damages, punitive damages, actual damages, treble
damages, enjoinder from further violations of these parts and any other such relief the
court may deem just and proper.

Respectfully submitted,

/.s'/F/'ank H. Kernev, II]. Esqz/r'/'e
Frank H. Kerney, 111, Esquire
Florida Bar #: 88672

l\/lorgan & l\/lorgan, Tampa, P.A.
One Tampa City Center

201 North Franklin Street, 7th Floor
Tampa, FL 33602

Telephone: (813) 223-5505
Facsimile: (813) 223-5402
fkerney@forthepeople.com
jkneeland@forthepeople.com
cfallara@forthepeople.com
Counsel for Plaintiff

